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                         IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    AUGUSTA DIVISION

MICHAEL WESLEY,

                Plaintiff,

          v.                                             CV 117-035


DEPARTMENT OF VETERANS AFFAIRS,
and "CLINIC A," Charlie Norwood,

                Defendants.



                                          ORDER



          After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion,

DISMISSES this case without prejudice, and DIRECTS the Clerk to CLOSE this civil

action.


          SO ORDERED this      /*&^ day ofMay, 2017, at Augusta, Georgia.



                                                                       JUDGE
                                            UNITE*) STATES DISTRICT COURT
                                                JTHERN DISTRICT OF GEORGIA
